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                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

  KATHY R. SANCHEZ, individually and            §
  as dependent administrator of, and on         §
  behalf of, the ESTATE OF ELI GAUNA            §
  JR. and ELI GAUNA, JR.’s heirs-at-law,        §
                                                §
           Plaintiff,                           §
                                                §
  v.                                            §   CIVIL ACTION NO. ______________
                                                §
  BELL COUNTY, TEXAS;                           §
  CORRECTIONAL HEALTHCARE                       §
  COMPANIES, LLC f/k/a                          §
  CORRECTIONAL HEALTHCARE                       §
  COMPANIES, INC.; and NATALEE G.               §
  OLIVER,                                       §
                                                §
           Defendants.                          §

                               PLAINTIFF’S ORIGINAL COMPLAINT

          This is a case of a tragic pre-trial prisoner suicide resulting from violation of
  constitutional rights. The Defendant social worker knew of Eli’s suicidal tendencies and,
  nevertheless, disregarded the risk and put Eli into Bell County’s general jail population.
  Not surprisingly, Eli hung himself with a sheet in his cell. Defendants’ deliberate
  indifference and objective unreasonableness caused Eli Gauna’s death.




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TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Plaintiff files this complaint and for cause of action will show the following.


I.      Introductory Allegations

        A.       Parties

        1.       Plaintiff Kathy R. Sanchez (“Ms. Sanchez”) is a natural person who resides and did

reside and was domiciled in Texas at all relevant times. Ms. Sanchez was Eli Gauna Jr.’s legal

and biological mother. Eli Gauna Jr. is referred to herein at times as “Mr. Gauna,” “Eli Gauna,”

and/or “Eli.” Ms. Sanchez sues in her individual capacity and as the Dependent Administrator of

the Estate of Eli Gauna Jr. Ms. Sanchez, when asserting claims in this lawsuit as the Dependent

Administrator, does so in that capacity and on behalf of the estate (including all of Eli’s heirs at

law including but not limited to Ms. Sanchez and Mr. Gauna’s legal and biological father, Eli

Gauna, Sr.). Letters of dependent administration were issued to Ms. Sanchez on or about March

6, 2019, in Cause Number 33619, in the County Court at Law Number 1 of Bell County, Texas,

in a case styled Estate of Eli Gauna Jr., Deceased.

        2.       Defendant Bell County, Texas (“Bell County”) is a Texas county. Bell County may

be served with process pursuant to Federal Rule of Civil Procedure 4(j)(2) by serving its chief

executive officer, Honorable County Judge David Blackburn, at 101 East Central Avenue, Belton,

Texas 76513, or wherever Honorable Judge Blackburn may be found. Service on such person is

also consistent with the manner prescribed by Texas law for serving a summons or like process on

a county as a Defendant, as set forth in Texas Civil Practice and Remedies Code Section 17.024(a).

Bell County acted or failed to act at all relevant times through its employees, agents,

representatives, jailers, and/or chief policymakers, and through its designated jail healthcare and

mental healthcare provider, Correctional Healthcare Companies, LLC f/k/a Correctional



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Healthcare Companies, Inc. (“CHC”), and is liable for such actions and/or failure to act to the

extent allowed by law (including but not necessarily limited to law applicable to claims pursuant

to 42 U.S.C. § 1983, the Americans with Disabilities Act, and the Rehabilitation Act). Bell

County’s policies, practices, and/or customs were moving forces behind constitutional violations,

and resulting damages and death, referenced and asserted in this pleading. Bell County acted or

failed to act under color of State law. Bell County cannot delegate its constitutional duties, to

provide medical care and mental health care to its prisoners, to CHC and thereby avoid liability

for constitutional violations committed by CHC. Bell County has non-delegable duties to comply

with the United States Constitution regarding prisoners in its care. Therefore, in addition and/or

in the alternative to all other allegations made in this complaint, CHC, to which Bell County has

entrusted, or to which it has delegated healthcare and mental health care of Bell County prisoners,

and with which it has acted in such regard, is liable for actions and inactions of CHC. In the

alternative or in addition, Bell County and CHC acted and/or failed to act together, in a partnership

and/or joint enterprise, or pursuant to similar legal principles, to provide care or fail to provide

care to prisoners in Bell County’s jails. Thus, Bell County is liable for CHC’s actions and inaction

related to such purported care, and both Bell County and CHC are each liable for any policies,

practices, and/or customs of the other which were moving forces behind and which caused

violations and damages referenced in this pleading.

        3.       Defendant Correctional Healthcare Companies, LLC f/k/a Correctional Healthcare

Companies, Inc. is a Delaware limited liability company which, before conversion and/or merger,

was a corporation named “Correctional Healthcare Companies, Inc.” CHC may be served with

process by serving its registered agent for service of process, Corporate Creations Network Inc.,

at its registered office, 2425 W. Loop South #200, Houston, Texas 77027. Such service is in

accordance with Federal of Civil Procedure 4(h)(1)(A), which provides that service of process may


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be made in the manner prescribed by Rule 4(e)(1) for serving an individual. Rule 4(e)(1) provides

that service on an individual may be made in the manner allowed by the law of the state in which

the district court in which the federal case is filed is located. Service on the registered agent for

service of process is provided by Texas law. In addition, CHC may be served with process,

pursuant to Rule (4)(h)(B), by delivering a copy of the summons and this complaint to an officer,

or a managing or general agent, of CHC, wherever any such person may be found. CHC, through

its employees, agents, representatives, and/or chief policymakers, acted and/or failed to act at all

relevant times, and it is liable for such actions and/or failure to act to the extent allowed by law

(including but not necessarily limited to law applicable to claims pursuant to 42 U.S.C. § 1983).

CHC acted at all times under color of state law, and its policies, practices, and/or customs were

moving forces behind and caused constitutional violations, and resulting damages and death,

referenced and/or asserted in this pleading.

        4.       Defendant Natalee G. Oliver (“Ms. Oliver,” or “Natalee Oliver”) is a natural person

who resides, is domiciled, and may be served with process at 905 Erica Drive, Hewitt, Texas

76643. Ms. Oliver may be served with process wherever she may be found or, pursuant to Federal

Rule of Civil Procedure 4(e), by leaving a copy of this complaint and a summons directed to Ms.

Oliver at Ms. Oliver’s dwelling or usual place of abode with someone of suitable age and discretion

who resides there. Ms. Oliver is being sued in her individual capacity, and she acted at all relevant

times under color of state law. Ms. Oliver was employed by CHC at all such times and acted or

failed to act in the course and scope of her duties for CHC. Ms. Oliver was also acting at the behest

of, as the agent of, and in the course and scope of her duties for Bell County as a result of (1) Bell

County’s inability to delegate its constitutional duties to a third party; and (2) the relationship

between Bell County and CHC referenced and/or described in Plaintiff’s Original Complaint in

this case, including but not limited to paragraph 2 in that pleading.


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        B.       Jurisdiction

        5.       The court has original subject matter jurisdiction over this lawsuit according to 28

U.S.C. § 1331 and 1343(4), because this suit presents a federal question and seeks relief pursuant

to federal statutes providing for the protection of civil rights. This suit arises under the United

States Constitution and federal statutes including but not necessarily limited to 42 U.S.C. § 1983,

the Americans with Disabilities Act, and the Rehabilitation Act.

        6.       The court has personal jurisdiction over Bell County because it is a Texas county.

The court has both general jurisdiction and specific jurisdiction over CHC because it regularly

conducts business in Texas and the Southern District of Texas, Houston Division, in a manner in

which it would be expected to be hailed into federal court in the Houston Division of the Southern

District of Texas, and moreover because its minimum contacts with the State of Texas, the

Southern District of Texas, and specifically the Houston Division, are such that fundamental

fairness would result in such jurisdiction. The court has personal jurisdiction over the natural

person Defendant because she resides and is domiciled in, and is a citizen of, Texas.


        C.       Venue

        7.       Venue is proper in the Houston Division of the United States District Court for the

Southern District of Texas, pursuant to 28 U.S.C. § 1391(b)(1). All Defendants are residents of

Texas. Bell County is a Texas County, and Ms. Oliver is a Texas resident, is domiciled in Texas,

and is a citizen of Texas. Further, CHC is a resident of Texas and the geographic area covered by

the United States District Court for the Southern District of Texas. CHC is subject to the court’s

personal jurisdiction in the Southern District of Texas, and specifically the Houston Division,

pursuant to general jurisdiction and possibly, upon information and belief, specific jurisdiction.

Upon information and belief, the primary office and/or principal place of business for CHC in


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Texas is in Fort Bend County, and the regional manager of and for CHC has his or her primary

office and primary place of business for CHC in that county. Upon information and belief, the

CHC region managed by that person encompasses not only the entire State of Texas, but also one

or more other States. Fort Bend County is within the United States District Court for the Southern

District of Texas, Houston Division. There are more than sufficient contacts with the Southern

District of Texas, and specifically the Houston Division, to subject CHC to personal general

jurisdiction there, if the Southern District as a whole, or in the alternative the Houston Division

within the Southern District, were a separate State.


II.     Factual Allegations

        A.       Introduction

        8.       Plaintiff provides in the factual allegations sections below the general substance of

certain factual allegations. Plaintiff does not intend that those sections provide in detail, or

necessarily in chronological order, any or all allegations. Rather, Plaintiff intends that those

sections provide Defendants sufficient fair notice of the general nature and substance of Plaintiff’s

allegations, and further demonstrate that Plaintiff’s claim(s) have facial plausibility. Whenever

Plaintiff pleads factual allegations “upon information and belief,” Plaintiff is pleading that the

specified factual contentions have evidentiary support or will likely have evidentiary support after

a reasonable opportunity for further investigation or discovery.


        B.       Eli Gauna, Jr.

        9.       Eli was born in 1994 in Temple, Texas to Eli Gauna, Sr. and Kathy Sanchez. He

lived in Temple all of his life, and he graduated from Temple High School. He was only 23 years

old at the time of his death.




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        C.       Correctional Healthcare Companies, LLC’s Agreement and Partnership with Bell
                 County to Provide Medical and Mental Health Care Services to Bell County Jail
                 Prisoners

        10.      The business of providing, or in some situations unfortunately not providing,

healthcare and mental healthcare to prisoners in county jails throughout the United States is big

business. There are untold millions of dollars to be made by private companies promising and/or

contracting to provide such services. CHC is no exception to the rule that such companies are in

business to make a profit.

        11.      CHC, as of roughly year 2012 or 2013, provided medical and/or mental health care

services in 240 facilities across the United States. In Texas, during roughly that time period, CHC

provided such services to Texas jails including those in Bell County, Collin County, Ellis County,

Kerr County, Lubbock County, Montgomery County, Smith County, and Wichita County.

        12.      CHC provides its summary of its history in Exhibit B to the contract between it and

Bell County referenced in this pleading. CHC indicates that it consolidated other providers of

offender healthcare services as it grew larger. CHC indicates that it began in 1979, “three years

after the U.S. Supreme Court ruled medical care for jail and prison inmates was not a privilege,

but a constitutional right.” CHC also notes that its healthcare program must be compliant with all

federal, state, county, and local laws, as well as requirements of the Americans with Disabilities

Act. Exhibit B also notes that CHC would work with Bell County to provide assistance and support

to disabled inmates (presumably who fall within ADA requisites). CHC’s history is one of

growing organically and acquiring other companies in the pursuit of significant profit.

        13.      CHC, when it was named “Correctional Healthcare Companies, Inc.,” signed a 21-

page (plus attachments) contract with Bell County in January 2014. That contract was entitled

“Agreement for Inmate and Juvenile Health Care Services at Bell County, Texas.” The title also

indicated that the contract was effective January 12, 2014. The term of the initial agreement was


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for three years, ending January 12, 2017 at 11:59 p.m. Upon information and belief, that agreement

was extended for several years and was in effect until January 2019.

        14.      One of the contractual recitals noted that Bell County “and the duly elected Sheriff

. . . are charged by law with the responsibility for providing access to medical care for inmates of

the Bell County jail . . . .” Another recital read in part, “CHC is in the business of administering

correctional health care services and desires to administer such services to inmates and detainees

at the [Bell County jail] . . . and to administer such services under the terms and conditions” set

forth in the contract. Thus, Bell County acknowledged in writing, if such were necessary, that it

had imposed on it legal obligations to provide care to prisoners in its jail. The contract also

provided that CHC’s chief medical officer would be a physician selected by CHC and approved

by Bell County. Further, that chief medical officer would be the “primary decision maker for

certain medical matters” pursuant to the contract. Thus, Bell County retained control over

selection of that person.

       15.     The contract also provided that CHC would administer and/or arrange for
healthcare services including:

              providing initial health screening during booking procedures for all new prisoners at
               the jail, including behavior observations - including state of consciousness, mental
               status, and whether the prisoner is under the influence of drugs and/or alcohol; and

              referral by CHC of the prisoner for special housing, emergency health services, or
               additional medical specialties

Further, Bell County agreed that CHC would arrange for on-site mental health services for

prisoners, including intake; medication evaluation/prescriptions; and mental health evaluation,

referral, crisis management, suicide intervention, and individual therapy. Further, if a prisoner

needs off-site or inpatient mental health services, the contract provided that Bell County would

pay for such services.




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        16.      The contract also provided that CHC “shall provide or arrange for the provision of

medical, mental health, and support personnel . . . necessary to render the health care services”

contemplated by Attachment A to the agreement.              Attachment A, for the Bell County

Annex/Central Jail, contrary to staffing for the Bell County Loop Jail, had no health services

administrator, medical director, mid-level providers, registered nurses, licensed vocational nurses

for booking-intake, certified medical assistance, medical records clerks, psychiatrists, or mental

health professionals. However, even though the Bell County Loop Jail had such persons listed on

the staffing matrix, on weekends, the matrix provided at that jail for no health services

administrator, medical director, mid-level providers, medical records clerks, and/or psychiatrists.

        17.      Further, that matrix, for that jail, provided that, on weekends, a purported “mental

health professional” would be present for ten hours during the days (but not at night or during

evenings), as contrasted with 16 hours during the day on Monday, Wednesday, and Friday and 12

hours during the day on Tuesday and Thursday. Thus, Bell County and CHC clearly agreed to

and, upon information and belief, did understaff the jail on weekends. However, as set forth

elsewhere in this pleading, constitutional standards apply just the same on weekends as they do on

weekdays.

        18.      Thus, this was a deliberate decision to be indifferent to prisoners with health care

and mental health care needs, such as Eli, who were in a Bell County jail on a weekend. This was

particularly important with regard to Eli, since the relevant events referenced in this pleading, and

the suicide attempt resulting in Eli’s death, occurred on a national holiday weekend.

        19.      As to staffing, the contract contained agreement that increases or decreases in

staffing requirements could be agreed to by the Bell County Sheriff and CHC. Further, such

agreements would be in writing. This provision, and others in the contract, show the joint




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responsibility by and between Bell County and CHC for provision of health care and mental health

care to Bell County prisoners.

        20.      Further, the contract provided that the health services administrator and the chief

medical officer “shall confer” regularly with the Bell County sheriff, and director of the Bell

County detention center, as well as other departmental staff, as appropriate, to review any

problems, reports, or other issues. Further, CHC was not allowed, pursuant to the contract, to

make any healthcare staff changes without prior notice to and written approval of the Bell County

sheriff, or detention center director. Healthcare staff of CHC working at Bell County jails was

subject, pursuant to the contract, to final approval by the Bell County sheriff and/or the County.

Further, the Bell County sheriff and/or the County could withhold approval for any reason,

including but not limited to reasons relating to a person’s background and/or security issues.

        21.      The contract also provided that CHC would conduct ongoing health and mental

health education and training programs for County sheriffs, deputies, and jailers. The need for

such education and training would be mutually established by Bell County and CHC. CHC even

conducted mental health evaluations, pursuant to the contract, for new Bell County employees.

        22.      CHC was further obligated pursuant to the contract to submit monthly reports to

the Bell County Sheriff and director of the Bell County detention center. Quarterly, CHC’s health

services administrator, regional representative, and any other management representatives

required would meet with the Sheriff and/or detention center director or their designee.

Concerning procedures in the jails and any proposed changes regarding health-related procedures

or other matters which both parties deemed necessary. CHC was contractually obligated to

maintain, cause, or require maintenance of “complete and accurate electronic medical records” for

every prisoner who received healthcare services. CHC was contractually obligated to conduct an




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annual review of all medical healthcare policies with the Bell County Sheriff and the Bell County

Detention Center director.

        23.      CHC, contractually, along with its healthcare staff, employees, agents, and

subcontractors, “Shall operate within the requirements of” Bell County’s, the Bell County

Sheriff’s, and/or the detention center’s posted policies and procedures regarding the provision of

medical services. Further, if Bell County, its sheriff, and/or its detention center wanted to modify

and policies and procedures related to healthcare and/or mental health care, they could do so and

provide modified policies and/or procedures to CHC. CHC, it healthcare staff, employees, agents,

and/or subcontractors had to then, contractually, operate within the requirements of the modified

policies and procedures made available to CHC. In Exhibit B, on page 95 of the contract (counting

not only the 21-page body but all attachments), the relationship between the County and CHC is

further described.

        The County shall have the unfettered right to monitor [CHC’s] work in every
        respect. In this regard, [CHC] shall provide its full cooperation, and ensure the
        cooperation of its employees [and] agents. Further, [CHC] shall make available for
        inspection and/or copying when requested, original time sheets, invoices, charge
        slips, credentialing statements, continuing education and training records, and any
        other data, records and accounts relating to [CHC’s] work and performance under
        the contract. In the event [CHC] does not hold such material in its original form, a
        true copy shall be provided.

Thus, the provision of services was clearly a joint effort by and between Bell County and CHC.

In the alternative or in addition, Bell County also delegated to CHC the provision of certain

medical care and mental health care services to Bell County prisoners. In doing so, pursuant to

controlling authority, Bell County still retained constitutional duties to provide appropriate

medical care and mental health care to its prisoners, such that it is liable for any actions and/or

inaction of CHC.




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        D.       Eli’s December 2017 Arrest and Incarceration in the Bell County Jail

        24.      Eli was arrested and taken to a Bell County jail on Saturday, December 30, 2017.

A document from Eli’s medical records with the Bell County jail contains an entry reading:

        IM state he tried hanging himself in July 2017 and was hospitalized at S&W STC1.
        He is requesting at this time to be housed by himself and states he cannot be around
        others. He states he was held at gunpoint and forced to rob someone or else the
        people told him they were going to run up in his house and harm his family. Please
        evaluate.

Upon information and belief, this entry was made by licensed vocational nurse (“LVN”) Japrynge

Cunningham. Upon information and belief, LVN Cunningham conducted the initial intake of Eli

on December 30, 2017. Further, upon information and belief, LVN Cunningham correctly placed

a suicide watch on Eli until Eli could be further evaluated.         LVN Cunningham correctly

determined, based upon Eli’s intake form and prior medical and mental health history referenced

in this pleading, that Eli needed to be placed on a suicide watch and not released into the general

jail population.

        25.      Upon information and belief, at the conclusion of LVN Cunningham’s evaluation

of Eli, it was determined that magistrate notification was appropriate. The notification form is set

forth below.




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        26.      Upon information and belief, the next person to evaluate Eli was Ms. Oliver. Upon

information and belief, all medical information referenced in this pleading was available to, and

reviewed by, Ms. Oliver when she determined not to keep Eli on suicide watch on December 30,

2017 but instead to place him into the general jail population (contrary to his request to be

segregated to assist with his mental health issues).


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        27.      Moreover, upon information and belief, when Ms. Oliver reviewed Eli’s medical

records before making such a determination, she was able to review, and did review, that a

magistrate had been notified twice before when Eli was previously admitted to a Bell County jail

on or about October 19, 2017 and August 23, 2017. Magistrate notification is required by Texas

law when, in general, a prisoner has or is suspected of having significant mental health and/or self-

harm issues (including potentially other issues).          Thus, Ms. Oliver possessed information

indicating that Eli’s responses to mental/developmental/suicide issues at intake were sufficient that

a magistrate had to be notified three times, for three separate admissions to the jail, from August

2017 through the end of December of the same year. This covered only a little more than a four-

month period. Such multiple magistrate notifications, and continual issues with Eli, was more than

sufficient information to notify Ms. Oliver that she needed to take action. Instead, she released Eli

into the general population and was deliberately indifferent to his obvious mental health needs.

                 1.       Ms. Oliver’s Evaluation of Eli

        28.      As shown above, this was not the first time that Eli had been in the Bell County

jail. During one prior incarceration, on October 19, 2017, a Screening Form for Suicide and

Medical/Mental/Developmental Impairments for Eli was completed. There was clear, unabashed

information on that form that would lead not only someone such as Ms. Oliver to the inescapable

conclusion that there is a substantial likelihood, and a virtual certainty, that Eli would attempt to

kill himself if left in a situation in which he was able to do so, but also any layperson. That form

is shown below.




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        29.      The form indicates that Eli had a cut hand and had gone to the hospital that day.

The form also indicates that Eli was Bipolar. All reasonable jailers, and all mental health personnel


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working in Texas jails, such as Ms. Oliver, know that a person who is Bipolar, when combined

with other factors such as those in Eli’s life and/or medical and mental health history, has a

significantly-increased likelihood of being suicidal.

        30.       One of the questions was, “Are you thinking of killing or injuring yourself today?

If so, how?” Neither the “Yes” nor “No” box was checked, but the comments portion read “it’s a

high risk.”

        31.       Another question on the form read, “Have you ever attempted suicide? If so, when

and how?” The “Yes” box was checked, and the comments portion next to the box read “today,

strangulation.”

        32.       Another question read, “Prior to arrest, did you feel down, depressed, or have little

interest or pleasure in doing things?” The “Yes” box was checked, and the comment read

“depressed.”

        33.       Another question read, “Do you have nightmares, flashbacks or repeated thoughts

or feelings related to PTSD or something terrible from your past?” The “Yes” box was checked,

and the comment portion read, “Nightmares Always.”

        34.       Another question on the form read, “Are you worried someone might hurt or kill

you?” The “Yes” box was checked, and the comment portion read, “Anybody. doesn’t trust

people.”

        35.       In response to the question “Are you extremely worried you will lose your job,

position, spouse, significant other, custody of your children due to arrest?” The “No” box was

checked, but the comment read, “all.”

        36.       Another question on the form read, “Have you ever received services for emotional

or mental health problems?” The “Yes” box was checked, and the comment read, “Yes, MHMR

Scott & White.”


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        37.      Another question on the form read, “Have you been in a hospital for

emotional/mental health in the last year?” The “Yes” box was checked, and the comment read,

“Attempted suicide 5 mo. ago.” Thus, in addition to the suicide which Eli attempted on October

19, 2017, Bell County, and the person completing the form at the time, knew that Eli had also

attempted suicide several months before. This information, plus all the information mentioned

above and below on that form, clearly indicated to anyone reading it that Eli was more than at a

substantial risk of committing suicide. There was a virtual certainty that Eli would commit suicide

if appropriate action were not taken.

        38.      When asked what Eli’s diagnosis was, related to his receiving services for

emotional or mental health problems and/or being hospitalized for an emotional/mental health

issue in the prior year, Eli responded, as recorded in the comments, “Bipolar Depression.” Alarm

bells should have been going off in the mind of the person completing the form, and any other

person reviewing the form, with the information referenced here and above. All reasonable jailers

and mental health personnel in jails in Texas know, pursuant to training, that an inmate with these

issues, especially one who has been diagnosed as being Bipolar and having depression, presents a

virtual certainty of committing suicide. This was true for Ms. Oliver as well.

        39.      The “Yes” box was checked in response to the question, “Does inmate display any

unusual behavior, or act or talk strange (cannot focus attention, hearing or seeing things that are

not there)?” The comments next to that response read, “See back.” However, the back of the form

was not provided. Nevertheless, upon information and belief, Ms. Oliver was able to review all

information in the above-described form, as well as what was on the back, when she interacted

with and completed intake of Eli in late December 2017 as referenced in this pleading.

        40.      The October 19, 2017 form concluded with a section indicating that a magistrate

was notified due to Eli’s significant risk of self-harm. The screening officer listed on the form was


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“Johnson,” and the supervisor signing the form was Corporal Tiffany Roach. The magistrate

notification was required by law due to a “Yes” answer on the form. All of the above-referenced

information on the form would lead even a layperson to the conclusion that there was a substantial

likelihood, and a virtual certainty, that Eli would attempt to kill himself if he were put into a

situation in which he was able to do so.

        41.      The same Screening Form for Suicide and Medical/Mental/Developmental

Impairments form, which is promulgated by the Texas Commission on Jail Standards for Texas

county jails, was completed when Eli was admitted to the Bell County jail on December 30, 2017.

That completed form is depicted below.




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        42.      The December 30, 2017 form had much of the same information which the October

19, 2017 form had on it. Upon information and belief, at the time Ms. Oliver interacted with Eli

as referenced below (and possibly elsewhere herein), she was able to review both the October 19,

2017 completed form and the December 30, 2017 completed form.

        43.      The December 30, 2017 form, taken together with other documents received in

response to Public Information Act requests, appears to indicate that the screening officer was

Derek Mungia. The form is also signed by a supervisor with the last name of Ray. The form

indicates that Eli was taking medication for being ADHD and Bipolar. These two maladies are

warning signs, when taken together with Eli’s other mental health issues referenced in both forms,

of a person’s propensity for suicide and/or other erratic behavior. The form contained a question

which read, “Are you thinking of killing or injuring yourself today? If so, how?” The “Yes” box

was checked, and the comment next to it read, “Yea [sic] maybe not sure.”

        44.      Another question on the form read, “Have you ever attempted suicide? If so, when

and how?” The “Yes” box was checked, and Eli indicated that he had done so “a couple months

ago hanging.”

        45.      There was also a question on the form which read, “Prior to arrest, did you feel

down, depressed, or have little interest or pleasure in doing things?” The “Yes” box was checked,

and the comment read, “All the time.”

        46.      The “Yes” boxes where checked in response to questions about whether Eli had

ever received services for emotional and mental health problems, and/or been in the hospital for

emotional/mental health issues in the last year. The comment section to the first question read

“MHMR.” As to the diagnosis for such issues, the comment section read “ADHD, bipolar.”

        47.      Warning bells should have been going off, loudly and continuously, in Ms. Oliver’s

mind when reviewing these documents, as she did, upon information and belief, when deciding


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whether to release Eli into the general jail population or keep him on suicide watch as LVN

Cunningham had done prior to contacting Ms. Oliver for such a determination. Ms. Oliver

disregarded those warning bells, and more specifically and importantly disregarded all the

information referenced thus far in this pleading and decided to place Eli into the general jail

population. This was deliberate indifference to Eli’s serious mental health needs, resulting in a

substantial likelihood, and near certainty, that he would kill himself if provided the means and

opportunity. Putting Eli into the general jail population provided both. Upon information and

belief, Ms. Oliver drew the inference of this substantial likelihood, and near certainty, of Eli’s

death.

         48.     Upon information and belief, Ms. Oliver completed a Bell – Mental Health

Evaluation for Eli before deciding to release him into the general jail population with no

precautions as to what would be available to him, physically, to be able commit suicide.




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        49.      Ms. Oliver noted some of her observations, and things she learned, on the single-

page form. As Eli’s diagnosis, she indicated Bipolar and ADHD. Ms. Oliver also listed that Eli,

as to current psychotropic medications, was taking Abilify through Scott & White. She also

indicated that Eli said, regarding that medication, “all my life.”

        50.      In the section entitled “Active Suicidal Ideation,” Ms. Oliver typed the following

responses (which were the substance of Eli’s responses regarding suicidal ideation):

                     all the time


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                     always have intermittent suicidal ideation

                     it always crosses my mind

                     there is always a plan

                     no intent “at the moment”

                     says being around people makes it worse

        51.      Regarding a history of suicide attempts, Ms. Oliver noted that she was told by Eli

that he had attempted to commit suicide seven (7) times, the last of which only being a little more

than two months before the current December 30, 2017 incarceration. Eli told Ms. Oliver that he

had attempted suicide on October 18, 2017 – by hanging himself. Not surprisingly, Ms. Oliver’s

diagnostic impression was that Eli was “very, very depressed,” and anxious “non-stop.”

        52.      Beyond these very clear signs that Eli, if allowed to do so, would kill himself, Ms.

Oliver was given other clear and unambiguous indications that Eli had significant mental health

issues which would cause him to harm himself. Ms. Oliver indicated on the form that Eli had

auditory hallucinations “all the time.” She also learned from Eli that the last time he had such an

auditory hallucination was Christmas (only five days before). Regarding that occurrence, Eli said

that it “put me to where I physically hurt myself.” Not surprisingly, Ms. Oliver’s objective

impression of Eli included that his judgment and impulse control were only “fair.” It does not take

a LCSW to determine that Eli was going to kill himself in the Bell County jail if allowed the

opportunity. This was clear to Ms. Oliver at this point. Nevertheless, she disregarded this

information and was deliberately indifferent to Eli’s significant mental health needs and inclination

to kill himself when she decided to put him into the general population she did so contrary to his

request to be isolated, and knowing that the area in which he would be housed would contain things

with which he could kill himself (including a bed sheet). She thus sealed his fate.




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        53.      Ms. Oliver’s form moreover indicates that, despite Eli’s statement that being around

a lot of people made his mental health issues worse, he could not be placed into a segregated cell.

Upon information and belief, she provided false information to Eli. Section 5.08 of Bell County

Jail Operational Plans, relating to mental disability/suicide, addresses housing for a prisoner such

as Eli. Subsection (A) reads:

        Inmates who have attempted suicide or are undergoing a psychotic episode and
        deemed a risk to themselves or others shall be placed in a Mental Health cell,
        located in the jail infirmary for close observation purposes, under the authority of
        the jail administrator, shift supervisor or the mental/medical health care provider
        on site.

        1.     Inmates placed in special housing for observation shall only be provided with
               a mattress, suicide blanket and a suicide prevention gown. Standard issued or
               purchased items that could cause harm are prohibited while in special
               housing.

        2.     In extreme cases, when the inmate poses a threat to himself or others, clothing
               may be removed with the approval of the jail administrator or his designee. If
               so ordered this action must be reviewed and documented every 24 hours.

Thus, the policy required Ms. Oliver – due to Eli’s previous suicide attempts – to place him into a

mental health cell located in the jail infirmary for close observation purposes (as Eli had actually

requested). Thus, Ms. Oliver refused to accommodate Eli’s mental health issue by fulfilling his

request and by complying with Bell County policy.

        54.      Notably, if Eli had been placed into that cell, if in fact the policy is truthfully stated

and reflects the actual custom and practice of Bell County and CHC, Eli would have been provided

suicide prevention materials (as opposed to materials such as the bed sheet which he used to kill

himself). Ms. Oliver then documented that she spoke with classification, and determined that there

was room at the central Bell County jail (for Eli to be placed into general population contrary to

his expressed desire and County policy). It was this decision, among potentially others, that led to

and caused Eli’s untimely death.



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        55.      Interestingly, Ms. Oliver indicates in her evaluation form that she had completed

the Columbia SSRS and Collaborative Safety plan. However, when making Public Information

Act requests prior to the filing of this lawsuit, no agency, and Bell County, upon information and

belief, produced a copy of a form indicating that such was actually completed. Upon information

and belief, either Ms. Oliver did not complete the form as indicated, or the form was purposefully

destroyed due to having significantly–damning information related to Eli’s death, Bell County

provided to the Texas Commission on Jail Standards, after Eli’s death, only a copy of such a blank

3-page form:




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Nevertheless, irrespective of what information was on that form, if it in fact exists, Ms. Oliver had

been provided more than sufficient information to indicate to her that Eli needed to be isolated,

without the ability to harm himself, for further mental health evaluation or, in the alternative,

immediately transferred off-site to an in-patient mental health rehabilitation facility. Her decision

caused and proximately caused Eli’s death.

        56.      It is difficult to imagine a more extensive set of facts listed in prisoner intake forms

that would put a jail and its employees on notice that a person should not be incarcerated but

instead immediately taken to and admitted in an appropriate mental health facility. Regardless,

Ms. Oliver chose to release Eli into the general jail population without restrictions. This decision

was known to her to likely cause Eli’s death, and it in fact resulted in that unfortunate occurrence.

        57.      After Eli committed suicide, jail officer Mark Alcozar signed a typed statement. In

that statement, he wrote, “Mental Health Oliver spoke with inmate Gauna and cleared him from a

15 minute mental health check and stated he was OK. I had inmate Gauna fill the inmate visitor

list and told him to fill out the prea [Prison Rape Elimination Act] inmate questionnaire.”

Moreover, upon information and belief, after Ms. Oliver determined that Eli could be placed into

the general jail population, contrary to LVN Cunningham’s prior determination that he should be

on suicide watch, LVN Cunningham completed a form indicating that Eli had been “approved for

general population” in the “central jail.”




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        58.      Texas Commission on Jail Standards records regarding Eli’s death contain the

following written notation: “Inspector Benningfield spoke with JA Shelton 03/27/18. JA Shelton

to meet w/ MH. Plan of action developed, and includes discussion with security staff decisions to

remove inmates from suicide watch.” Texas Commission on Jail Standards records also indicate

that Eli had only been placed on suicide observation for approximately the first three hours after

arriving at the jail (at approximately 7:08 a.m.). This demonstrated jailers’ reliance on, and their

actions in response to, Ms. Oliver’s determination that Eli would be placed into the general jail

population.



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                 2.       Eli’s Suicide

        59.      According to Texas Commission on Jail Standard records, on January 1, 2018, at

approximately 9:29 a.m., Eli was sitting at a table in his cell block with other inmates. A little

over 20 minutes later, Eli was served his meal tray and was eating. Trays were then picked up,

and inner cell doors were opened. Eli was observed going into his individual cell. Lights were

turned off at approximately 10:08 a.m. At approximately 10:27 a.m. movement could be seen in

Eli’s cell. He was attempting to throw his sheet over something high in his cell. Shortly thereafter,

Eli made his first attempt to commit suicide by hanging, with both feet flat on the floor and one

end of the sheet tied around his neck (while the other end was secured to something unseen in the

video recording). At approximately 10:30 a.m. Eli stepped up onto something in the cell and out

of camera range, and he made his second suicide attempt at 10:32 a.m.

        60.      At approximately 10:43 a.m., video showed one or more other inmates realizing

that something was wrong. Shortly thereafter, officers entered Eli’s cell. Unfortunately, it was too

late for Eli. He had suffered irreparable physical injuries from which he would not recover.

        61.      Eli had hung himself with, upon information and belief, a bed sheet. Upon

information and belief, the area in which Eli was incarcerated was not an area in which precautions

were taken for suicidal inmates, but rather one in which items such as the bed sheet were readily

available to inmates intending to commit suicide. Moreover, it was fairly easy for Eli, as it would

have been for anyone in that portion of the jail, to find a point at which he could tie off the bed

sheet such that it could be used as a noose.

        62.      Eli was treated by EMS personnel and ultimately transported to Baylor Scott &

White Hospital. Eli remained at the hospital, receiving care, until he was removed from life




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support care on February 4, 2018. Justice of the peace David Barfield made the determination that

no autopsy of Eli would be conducted.

        63.      Eli left a suicide note in his cell, as further unfortunate evidence of his plan which

any person conducting an intake, as did Ms. Oliver, would have known. The note read in part,

“I’m so sorry for everything I have done.” Eli listed phone numbers for his brother and his mother.

        64.      The death certificate for Eli indicated that Eli’s death occurred on February 4, 2018,

which was listed as being 35 days after suffering respiratory failure from hanging. The certificate

indicated as causes of death respiratory failure, asphyxia, and hanging by ligature. Thus, the death

certificate reflected the fact that Eli was hospitalized for over a month after his suicide attempt.


                 3.       Bell County’s Post-Death Reporting of False Information

        65.      Bell County was required by law to file a custodial death report with the Attorney

General of Texas no later than 30 days after Eli’s death. Bell County did so. The form listed

various details regarding Eli and his death, including that Eli committed suicide. The form

indicated that the event causing Eli’s death occurred at 113 W. Central Avenue in Belton. The

form also had the “Yes” box checked, in response to the question, “Make suicidal statements?”

        66.      However, in response to the question, “Exhibit any mental health problems,” the

“No” box was checked. This was clearly false information provided to the Attorney General

regarding Eli’s condition. Eli exhibited significant mental health problems, and surely Bell County

Captain Byron Shelton, who is listed as completing the report, would have known as much when

he completed it on February 5, 2018 – over a month after Eli’s suicide attempt. By that time, upon

information and belief, the jail had conducted an investigation which would have informed Captain

Shelton – and all other high-level employees connected with the Bell County jail – of Eli’s

significant mental health issues.



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                 4.       Jail Suicides Are a Widespread Problem

                          a)       Common Knowledge

        67.      Jail suicides, as Defendants knew before incarcerating Eli, are a huge problem in

the United States. One-thousand fifty-three (1,053) people died in local jails in 2014, three-

hundred seventy-two (372) of which died as a result of suicide. Defendants also knew when

incarcerating Eli that most jail suicides occur by hanging/strangulation, with prisoners using

objects available to them as ligatures. Prisoners commonly use bed linens, clothing (including

drawstrings), telephone cords, and trash bags.

        68.      The Texas Commission on Jail Standards (“TCJS”) specifies use of a screening

form for suicide and medical/mental/developmental impairments. The screening form was revised

before Eli was incarcerated to achieve, as one of three goals, the creation of an objective suicide

risk assessment with clear guidance for front-line jail personnel as to when to notify their

supervisors and/or mental health providers and magistrates. The TCJS indicates that intake

screening “is the first step and is crucial to determine which inmates require more specialized

mental health assessment.” Moreover, “Unless inmates are identified as potentially needing

mental health treatment, they will not receive it.”

        69.      The TCJS also notes that purposes of intake screening are to enable correctional

staff to triage those who may be at significant risk for suicide; identify prisoners who may be in

distress for a mental health disorder/psychosis or complications from recent substance abuse; and

assist with the continuity of care of special-needs alleged offenders. The TCJS requires that an

intake screening form be completed for all prisoners immediately upon admission into a jail

facility. Further, staff should perform additional screenings when they have information that a

prisoner has developed mental illness, or the inmate becomes suicidal, at any point during the

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inmate’s incarceration. A jail must maintain any such additional screening forms in a prisoner’s

file.

         70.     Suicides were not a novel occurrence and/or unknown issue to Defendants. They

were well-aware of the risk – and in Eli’s case the certainty – of suicide. They were deliberately

indifferent to this certainty, and Eli died as a result. The natural person Defendant acted in an

objectively unreasonable manner, and Bell County’s and CHC’s policies, practices, and/or

customs were moving forces behind Eli’s death.


                          b)       Fifth Circuit’s Long-Held Constitutional Standard:      Continuous
                                   Observation and Monitoring

         71.     Nearly 30 years ago, in November 1991, the Texas Commission on Jail Standards

published the Guide for Development of Suicide Prevention Plans. Even that long ago, when

society and medical professionals as a whole knew much less than they have learned over the last

few years, the Commission recommended continuous observation for high risk, acutely suicidal

inmates who had attempted suicide. Circuit Judge Goldberg, writing a concurring opinion on

behalf of the United States Court of Appeals for the Fifth Circuit nearly 30 years ago (in 1992),

unambiguously wrote that the right to continual monitoring of prisoners with suicidal tendencies

was clearly established. In Rhyne vs. Henderson County, 973 F.2d 386 (5th Cir. 1992), the mother

of a pre-trial detainee brought suit for the death of her child. Judge Goldberg warned and put on

notice all policymakers within the jurisdiction of the United States Court of Appeals for the Fifth

Circuit (Texas, Louisiana, and Mississippi), regarding pre-trial detainees in need of mental health

care (and specifically those with suicidal tendencies):

         Fortunately, the policymakers in charge can learn from their mistakes and take the
         necessary additional steps to insure the safety of pretrial detainees in need of mental
         health care. Other municipalities should also take heed of the tragic
         consequences which are likely to ensue in the absence of adequate safety
         measures to deal with detainees displaying suicidal tendencies.


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        What we learn from the experiences of Henderson County [Texas] is that when
        jailers know a detainee is prone to committing suicide, a policy of observing
        such a detainee on a periodic, rather than on a continuous, basis, will not
        suffice; that vesting discretion in untrained jail personnel to assess the need for, and
        administer, mental health care, will not be responsive to the medical needs of
        mentally ill detainees; and that delegating the task of providing mental health care
        to an agency that is incapable of dispensing it on the weekends will endanger the
        well-being of its emotionally disturbed detainees. We need not remind jailers and
        municipalities that the Constitution works day and night, weekends and
        holidays—it takes no coffee breaks, no winter recess, and no summer vacation.

        So the plaintiff in this case did not prove that Henderson County adopted its policy
        of handling suicidal detainees with deliberate indifference to their medical
        needs. But that does not insulate Henderson County, or any other municipality,
        from liability in future cases. Jailers and municipalities beware! Suicide is a real
        threat in the custodial environment. Showing some concern for those in
        custody, by taking limited steps to protect them, will not pass muster unless
        the strides taken to deal with the risk are calculated to work: Employing only
        “meager measures that [jailers and municipalities] know or should know to be
        ineffectual” amounts to deliberate indifference. To sit idly by now and await
        another, or even the first, fatality, in the face of the Henderson County tragedy,
        would surely amount to deliberate indifference.

Id. at 395-96 (emphasis added).

The Defendants were put on notice long ago that anything short of continuous monitoring of

suicidal inmates was insufficient and violated the United States Constitution. The law was clearly

established with exacting specificity, and Defendants were charged with knowledge of it.


                 5.       Ms. Oliver’s Background and Education

        72.      Ms. Oliver was at the time she conducted a purported evaluation of Eli at the Bell

County jail a licensed clinical social worker. Upon information and belief, her background,

education, training, and experience taught her things which clearly indicated to her, when she

interacted with Eli when determining whether to isolate him as a suicidal inmate or release him

into the general jail population, that she was being deliberately indifferent and/or objectively

unreasonable in making her ultimate mental health determinations regarding Eli. A licensed



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clinical social worker (“LCSW”) is a social worker who is involved with the mental health

counseling branch of social work. An LCSW can provide mental health therapy to a person with

mental health needs. Further, an LCSW can assess such needs through conducting an inventory.

An LCSW is also, upon information and belief, trained to look for signs of suicidal ideation and

the likelihood that a person will harm himself or herself, up to and including through suicide.

        73.      Ms. Oliver had been for a lengthy period of time an adjunct professor at McLennan

County Community College. She also worked as a behavioral therapist for Senior Gateway,

DePaul Center. She had also served as adjunct professor at Baylor University, where she earned

a master’s degree in gerontology in year 2000. Ms. Oliver also served as adjunct faculty at

University of Mary Hardin-Baylor, in the Social Work, Sociology and Criminal Justice

Department.


        E.       Monell Liability of Bell County and CHC

        74.      Plaintiff sets forth in this section of the pleading additional facts supporting Monell

liability claims against Bell County and CHC. It is Plaintiff’s intent that all facts asserted in this

pleading relating to policies, practices, and/or customs of Bell County and CHC support such

Monell liability claims, and not just facts set forth in this section. Such policies, practices, and

customs alleged in this pleading were moving forces behind and proximately caused the

constitutional violations and damages asserted herein.


                 1.       Bell County and CHC Admit That Their Policies, Practices, and/or
                          Customs, When Eli Committed Suicide, Were Insufficient

        75.      Bell County and CHC recognize that their policies, procedures, and/or customs at

the time Eli committed suicide were insufficient to provide constitutional protection to people like

Eli. As a result, Stacey Tennison McClinton, Sergeant of Intake Support for Bell County, drafted



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an email to Jackie Benningfield, an inspector with the Texas Commission on Jail Standards. That

email set forth an “action plan” that should be followed after Eli’s death:




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                 2.       Bell County’s and CHC’s Unwritten Policies, Practices, and/or Customs
                          Were Moving Forces Behind and Caused Eli’s Death

        76.      Upon information and belief, Bell County and CHC had unwritten policies,

practices, and/or customs which were used and applied by Ms. Oliver when she dealt with and

made decisions about Eli referenced in this pleading. Evidence of such is, upon information and

belief, the fact that CHC chose not to terminate Ms. Oliver, and Bell County chose not to exercise

its contractual right to insist that Ms. Oliver no longer work at and/or provide care at any Bell

County jail. This is not an assertion that CHC and Bell County ratified Ms. Oliver’s actions, and

that such ratification alone gives rise to a cause of action. Rather, it is an assertion that de facto

ratification of Ms. Oliver’s actions, evidenced by not terminating her, showed approval for

apparent unwritten policies, practices, and/or customs which Ms. Oliver followed when dealing

with Eli. These apparent unwritten policies, practices, and/or customs were, upon information and

belief, moving forces behind and proximately caused Eli’s death and constitutional violations and

other damages asserted in this pleading.

        77.      Public Information Act requests, regarding issues in this case, were made pre-suit

to several governmental agencies and/or political subdivisions, including Bell County, the Texas

Commission on Jail Standards, and the Texas Department of Public Safety (who investigates

through the Texas Rangers deaths such as those at issue in this case). Upon information and belief,

no written statement of Ms. Oliver which appears to have been made after Eli’s death, and for the

purpose of further documenting what occurred in her interaction with Eli, was received in

response. Thus, upon information and belief, no such written statement exists. The fact that no

such statement was obtained from Ms. Oliver by Bell County and/or CHC is some evidence of

Bell County’s and CHC’s policies, practices, and customs being followed by Ms. Oliver and which



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led to Eli’s death. If Bell County and CHC were concerned that Ms. Oliver had not followed

existing policies, practices, and/or customs, they certainly would have required Ms. Oliver to

complete a detailed statement regarding all of her interaction with Eli and decisions she made in

response.

                 3.       Bell County’s and CHC’s Policies, Practices, and/or Customs Regarding
                          Understaffing the Jail on Weekends were Moving Forces Behind and
                          Caused Eli’s Death

        78.      Upon information and belief, and as elsewhere asserted in this pleading, Bell

County and CHC had a policy of staffing the jail at which Eli was incarcerated with fewer

appropriate staff members on weekends and, presumably even more so, on holiday weekends (such

as the holiday weekend Eli made his successful suicide attempt). Upon information and belief,

those policies included not having on staff on weekends a psychiatrist or other appropriate mental

health person who could assure that decisions made by social workers, such as Ms. Oliver, were

appropriate for seriously mental ill people such as Eli. This policy and decision which was, upon

information and belief, made by the relevant chief policymaker, constituted deliberate indifference

to the likely effects of such a policy – that people would die as a result of self-harm. Such a policy

would also be patently unreasonable in light of Fifth Circuit precedent and the reality that inmates

need mental health care seven days each week, 365 days each year. Upon information and belief,

these policies were moving forces behind and proximately caused Eli’s death.


                 4.       Bell County’s and CHC’s Policy, Practice, and/or Custom of Staffing the
                          Jail with only a Lower-Level Mental Health Worker was a Moving Force
                          Behind and Caused Eli’s Death

        79.      Upon information and belief, Bell County and CHC had a policy of staffing the jail

at which Eli was initially incarcerated with mental health workers at a level no higher than a social

worker. The jail should have been staffed at all times with a psychiatrist, as is evidenced by the


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need for a psychiatrist at the jail and referenced in the contract between Bell County and CHC.

Bell County’s and CHC’s policy of allowing only Ms. Oliver to make an evaluation of, and

ultimate decisions about, Eli was, upon information and belief, a proximate cause and moving

force behind Eli’s death. The policy, practice, and/or custom should have required a psychiatrist

to “sign off” on allowing someone with Eli’s mental health history to be released into the general

jail population. This requirement is particularly evident, considering that an LVN realized that Eli

should have been put on suicide watch. This policy, practice, and/or custom also constituted

deliberate indifference to the likely outcome – suicidal prisoners being released into the general

jail population, into areas in which tangible items were available to be used to commit suicide,

when they should be placed on continuous observation.


                 5.       Bell County’s and CHC’s Policy, Practice, and/or Custom of Gutting
                          Healthcare and Mental Healthcare Costs was a Moving Force Behind and
                          Caused Eli’s Death

        80.      Upon information and belief, Bell County and CHC had a partially written and

substantially unwritten policy, practice, and/or custom of not transferring Bell County prisoners to

an appropriate offsite facility, even when such prisoners had serious need for such a transfer,

merely to cut costs. This policy was not a rudimentary attempt to cut costs, but instead an attempt

to slash costs for such offsite treatment to virtually nothing. Eli needed either constant monitoring

while at the jail, which was not provided, or to be transferred to an offsite facility for significant

mental health evaluation and treatment. Bell County’s and CHC’s policy, practice, and/or custom

of not doing so, upon information and belief, led to, was a proximate cause of, and was a moving

force behind Eli’s death. Further, this policy was deliberate indifference to the mental health needs

of people such as Eli, because any chief policymaker formulating the policy, practice, and/or




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custom would have known with a certainty that certain prisoners need offsite care to avoid

committing suicide.

        81.      Exhibit B to the above-referenced contract between Bell County and CHC includes

a reference to CHC’s utilization management program for offsite services. CHC notes that its

implementation of such a program helped Bell County with “costs containment.” CHC describes

its “aggressive” utilization management review, which allowed it to “restrict the use of expensive

offsite resources to only those treatments and procedures which [CHC contends] are medically

indicated.” CHC touts the fact that it reduced Bell County offsite medical services spending from

$590,525.19 in 2008 to only $17,465.02 in 2010 (a reduction of over 97%). It is difficult to

imagine how any company could decrease a nearly $600,000.00 amount for offsite services to an

amount less than $20,000.00, with a significantly growing population in the Bell County region of

the State, unless CHC, and consequently Bell County, was deliberately indifferent to medical

and/or mental health care needs of Bell County prisoners. Upon information and belief, that is in

fact what was occurring. Further, evidence is that the total base amount to be paid by Bell County

to CHC for services including pharmacy had increased several hundred thousand dollars from the

time the original contract was signed, until the fifth amendment to the contract was signed (such

amendment being effective January 13, 2018).

        82.      Likewise, CHC touted in Exhibit B its ability to significantly limit expenditures for

its staff working in Bell County jails. However, upon information and belief, this was in practice

deliberate indifference to the medical and mental health care needs of prisoners, especially

considered in light of the fact that agreed staffing on weekends was insufficient, not only standing

alone, but especially as compared against agreed staffing between Bell County and CHC to occur

at Bell County jails on weekdays.




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III.    Causes of Action

        A.       14th Amendment Due Process Claims Under 42 U.S.C. § 1983: Objective
                 Reasonableness Pursuant to Kingsley v. Hendrickson

        83.      In Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015), a pretrial detainee sued several

jail officers alleging that they violated the 14th Amendment’s Due Process Clause by using

excessive force against him. Id. at 2470. The Court was determining the following issue:

“whether, to prove an excessive force claim, a pretrial detainee must show that the officers were

subjectively aware that their use of force was unreasonable, or only that the officer’s use of that

force was objectively unreasonable.” Id. (emphasis in original). The United States Supreme Court

concluded that only the objectively unreasonable standard was the correct standard to be used in

excessive force cases, and that the officer's subjective awareness was irrelevant. Id. The Court

did so, acknowledging and resolving disagreement among the Circuits. Id. at 2471-72.

        84.      The Court flatly wrote “the defendant’s state of mind is not a matter that a plaintiff

is required to prove.” Id. at 2472. Instead, “courts must use an objective standard.” Id at 2472-

73. “[A] pretrial detainee must show only that the force purposefully or knowingly used against

him was objectively unreasonable.” Id. at 2473. Thus, the Court required no mens rea, no

conscious violation, and no subjective belief or understanding of the offending police officers for

an episodic claim but instead instructed all federal courts to analyze officers’ conduct on an

objective reasonability basis. There is no reason to treat pretrial detainees’ other rights arising

under the 14th Amendment’s due process clause – such as the right to receive reasonable medical

and mental health care, the right to be protected from harm, and the right not to be punished –

differently.

        85.      It appears that this standard is now the law of the land. In Alderson v. Concordia

Parish Corr. Facility, 848 F.3d 415 (5th Cir. 2017), the Fifth Circuit Court of Appeals considered



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appeal of a pretrial detainee case in which the pretrial detainee alleged failure-to-protect and failure

to provide reasonable medical care claims pursuant to 42 U.S.C. § 1983. Id. at 418. The court

wrote, “Pretrial detainees are protected by the Due Process Clause of the Fourteenth Amendment.”

Id. at 419 (citation omitted). The Fifth Circuit determined, even though Kingsley had been decided

by the United States Supreme Court, that a plaintiff in such a case still must show subjective

deliberate indifference by a defendant in an episodic act or omission case. Id. at 419-20. A plaintiff

must still show that actions of such an individual person acting under color of state law were

“reckless.” Id. at 420 (citation omitted). However, concurring Circuit Judge Graves dissented to

a footnote in which the majority refused to reconsider the deliberate indifference, subjective

standard, in the Fifth Circuit. Id. at 420 and 424-25.1



1
 Circuit Judge Graves wrote: “I write separately because the Supreme Court’s decision in Kingsley
v. Hendrickson, ––– U.S. ––––, 135 S.Ct. 2466, 192 L.Ed.2d 416 (2015), appears to call into
question this court’s holding in Hare v. City of Corinth, 74 F.3d 633 (5th Cir. 1996). In Kingsley,
which was an excessive force case, the Supreme Court indeed said: “Whether that standard might
suffice for liability in the case of an alleged mistreatment of a pretrial detainee need not be decided
here; for the officers do not dispute that they acted purposefully or knowingly with respect to the
force they used against Kingsley.” Kingsley, 135 S.Ct. at 2472. However, that appears to be an
acknowledgment that, even in such a case, there is no established subjective standard as the
majority determined in Hare. Also, the analysis in Kingsley appears to support the conclusion that
an objective standard would apply in a failure-to-protect case. See id. at 2472–2476.

Additionally, the Supreme Court said:

             We acknowledge that our view that an objective standard is appropriate in the
             context of excessive force claims brought by pretrial detainees pursuant to the
             Fourteenth Amendment may raise questions about the use of a subjective
             standard in the context of excessive force claims brought by convicted
             prisoners. We are not confronted with such a claim, however, so we need not
             address that issue today.

Id. at 2476. This indicates that there are still different standards for pretrial detainees and DOC
inmates, contrary to at least some of the language in Hare, 74 F.3d at 650, and that, if the standards
were to be commingled, it would be toward an objective standard as to both on at least some
claims.


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        86.      The majority opinion gave only three reasons for the court’s determination that the

law should not change in light of Kingsley. First, the panel was bound by the Fifth Circuit’s “rule

of orderliness.” Id. at 420 n.4. Second, the Ninth Circuit was at that time the only circuit to have

extended Kingsley’s objective standard to failure-to-protect claims. Id. Third, the Fifth Circuit

refused to reconsider the law of the Circuit in light of United State Supreme Court precedent,

because it would not have changed the results in Alderson. Id. Even so, the Fifth Circuit noted,

over twenty years ago, that the analysis in pretrial detainee provision of medical care cases is the

same as that for pretrial detainee failure-to-protect cases. Hare v. City of Corinth, 74 F.3d 633,

643 (5th Cir. 1996).

        87.      Thus, the trail leads to only one place – an objective unreasonableness standard,

with no regard for officers’ subjective belief or understanding, should apply in this case and all

pretrial detainee cases arising under the Due Process Clause of the 14th Amendment. The Fifth

Circuit, and the district court in this case, should reassess Fifth Circuit law in light of Kingsley and

apply an objective unreasonableness standard to constitutional claims in this case. The court




Further, the Ninth Circuit granted en banc rehearing in Castro v. County of Los Angeles, 833 F.3d
1060 (9th Cir. 2016), after a partially dissenting panel judge wrote separately to point out that
Kingsley “calls into question our precedent on the appropriate state-of-mind inquiry in failure-to-
protect claims brought by pretrial detainees.” Castro v. County of Los Angeles, 797 F.3d 654, 677
(9th Cir. 2015). The en banc court concluded that Kingsley applies to failure-to-protect claims and
that an objective standard is appropriate. Castro, 833 F.3d at 1068–1073.

In Estate of Henson v. Wichita County, 795 F.3d 456 (5th Cir. 2014), decided just one month after
Kingsley, this court did not address any application of Kingsley. Likewise, the two subsequent
cases also cited by the majority did not address or distinguish Kingsley. Hyatt v. Thomas, 843 F.3d
172 (5th Cir. 2016), and Zimmerman v. Cutler, 657 Fed.Appx. 340 (5th Cir. 2016). Because I read
Kingsley as the Ninth Circuit did and would revisit the deliberate indifference standard, I write
separately.”


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should not apply a subjective state of mind and/or deliberate indifference standard. The Supreme

Court discarded the idea that such a burden should be placed upon a plaintiff.


        B.       Cause of Action Against Natalee G. Oliver Under 42 U.S.C. § 1983 for Violation
                 of Eli Gauna’s 14th Amendment Due Process Rights to Reasonable Medical and
                 Mental Health Care, to be Protected, and Not to Be Punished as a Pretrial Detainee

        88.      In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Defendant Natalee G. Oliver

is liable to Plaintiff (including Ms. Sanchez and all other heirs at law, including Eli Gauna, Sr.),

pursuant to 42 U.S.C. § 1983, for violating Eli's rights to reasonable medical and mental health

care, to be protected from himself and others, and not to be punished as a pretrial detainee, such

rights guaranteed by the 14th Amendment to the United States Constitution. Pre-trial detainees are

entitled to a greater degree of medical care than convicted inmates, according to the Fifth Circuit

Court of Appeals. Pre-trial detainees are also entitled to protection from themselves and others,

and not to be punished at all since they have not been convicted of any crime resulting in their

incarceration.

        89.      Ms. Oliver acted and failed to act under color of state law at all times referenced in

this pleading. Ms. Oliver wholly or substantially ignored Eli's suicidal and self-harm tendencies

and his obvious serious medical and mental health needs, and she was deliberately indifferent to

those needs. Ms. Oliver chose to allow Eli to harm himself, and thus failed to protect him, and

further punished Eli by, among potentially other things, not placing him into a single-occupancy

cell with suicide–preventive materials for continuous observation, and allowing him to kill

himself. Ms. Oliver was not just aware, but very much aware, of Eli’s serious psychological and



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medical issues and tendencies to harm himself. She gained this knowledge as described in the

Factual Allegations section above. Thus, Ms. Oliver had subjective knowledge of the substantial

risk of suicide and responded with deliberant indifference to that risk. She was aware of the

excessive risk to Eli’s health or safety and was aware of facts from which an inference could be

drawn of serious harm (and she in fact drew that inference). In fact, based on what occurred, it

was more than an inference to Ms. Oliver. It was blatantly apparent to Ms. Oliver that, unless she

protected Eli and provided him needed medical and/or psychological care, he would kill himself.

        90.      Ms. Oliver violated clearly established constitutional rights, and her conduct was

objectively unreasonable in light of clearly established law at the time of the relevant incidents.

Eli, as a pretrial detainee, had a clearly established right to receive reasonable medical and mental

health care, to be protected from himself and others, and not to be punished. These rights included

the right to be continuously and appropriately monitored. These rights also included the right to

have removed from Eli’s cell items commonly known to be used by suicidal inmates to kill

themselves (such as the bed sheet).

        91.      In the alternative, Ms. Oliver’s deliberate indifference, conscious disregard, state

of mind, subjective belief, subjective awareness, and/or mental culpability are irrelevant to

determination of the constitutional violations set forth in this section of this pleading. The United

States Supreme Court, in Kingsley v. Hendrickson, 135 S. Ct. 2466 (2015), determined the state of

mind necessary, if any, for officers sued in a case alleging excessive force against a pretrial

detainee in violation of the 14th Amendment’s Due Process Clause. Id at 2470-71. Constitutional

rights set forth in this section of the pleading, and the constitutional right affording a pretrial

detainee protection against excessive force, all flow from the 14th Amendment’s due process

clause. Id. Since such constitutional protections flow from the same clause, the analysis of what

is necessary to prove such constitutional violations should be identical.


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        92.      Ms. Oliver is not entitled to qualified immunity.2 Her denial of reasonable medical

and mental health care, her refusal to put Eli into a single cell as he requested and in accordance

with Bell County/CHC policy, her decision to put Eli into the general jail population in a portion

of the jail which Ms. Oliver knew would contain items with which Eli could kill himself, her total

disregard for Eli’s health and safety, and/or her total disregard for Eli’s suicidal tendencies and

propensity to hurt himself caused, proximately caused, and were producing causes of Eli’s death

and other damages suffered by Eli, Ms. Sanchez, and Eli’s heirs-at-law (including Eli Gauna, Sr.)

(asserted by Kathy Sanchez as Dependent Administrator of the Estate of Eli Gauna Jr.).

        93.      The United States Court of Appeals for the Fifth Circuit has held that using a state’s

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to

42 U.S.C. § 1983. Therefore, Eli’s heirs-at-law, including Ms. Sanchez and Eli Gauna, Sr., and


2
    The defense of qualified immunity is, and should be held to be, a legally impermissible defense
except as applied to state actors protected by immunity in 1871 when 42 U.S.C. § 1983 was
enacted. Congress makes laws. However, the qualified immunity defense was invented by judges.
Plaintiff respectfully makes a good faith argument for the modification of existing law, such that
the court–created doctrine of qualified immunity be abrogated or limited.

    The natural person Defendant cannot show that she would fall within the category of persons
referenced in the first sentence of this footnote. This would be Defendant’s burden, if she chooses
to assert the alleged defense. Qualified immunity, as applied to persons not immunized under
common or statutory law in 1871, is untethered to any cognizable legal mandate and is flatly in
derogation of the plain meaning and language of Section 1983. See Ziglar v. Abassi, 137 S. Ct.
1843, 1870-72 (2017) (Thomas, J., concurring). Qualified immunity should have never been
instituted as a defense, without any statutory, constitutional, or long-held common law foundation,
and it is unworkable, unreasonable, and places too high a burden on Plaintiffs who suffer violation
of their constitutional rights. Joanna C. Schwartz, The Case Against Qualified Immunity, 93 Notre
Dame L. Rev. 1797 (2018) (observing that qualified immunity has no basis in the common law,
does not achieve intended policy goals, can render the Constitution “hollow,” and cannot be
justified as protection for governmental budgets); and William Baude, Is Qualified Immunity
Unlawful?, 106 Calif. L. Rev. 45, 82 (2018) (noting that, as of the time of the article, the United
States Supreme Court decided 30 qualified immunity cases since 1982 and found that defendants
violated clearly established law in only 2 such cases). Justices including Justice Thomas, Justice
Breyer, Justice Kennedy, and Justice Sotomayor have criticized qualified immunity. Schwartz,
supra at 1798–99. Plaintiff includes allegations in this footnote to assure that, if legally necessary,
the qualified immunity abrogation or limitation issue has been preserved.

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the Estate of Eli Gauna Jr., seek all remedies and damages available under Texas and federal law,

including but not necessarily limited to the Texas wrongful death statute (Tex. Civ. Prac. & Rem.

Code § 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac. & Rem. Code § 71.021), the

Texas Constitution, common law, and all related and/or supporting caselaw. If Eli had lived, he

would have been entitled to bring a 42 U.S.C. § 1983 action and obtain remedies and damages

provided by Texas and federal law. Therefore, Eli’s estate and/or his heirs at law suffered the

following damages, for which they seek recovery from Ms. Oliver:

             Eli’s conscious physical pain, suffering, and mental anguish experienced by him prior
              to his death;

             Eli’s medical expenses;

             Eli’s funeral expenses; and

             exemplary/punitive damages.

        94.      These heirs-at-law (including Ms. Sanchez and Eli Gauna, Sr.) also individually

seek and are entitled to all remedies and damages available to them for the 42 U.S.C. § 1983

violations. Ms. Sanchez and Eli Gauna, Sr. seek those damages due to the wrongful death of their

biological and legal son.          The damages suffered by the heirs-at-law were caused and/or

proximately caused by Ms. Oliver. Therefore, Ms. Oliver’s actions caused, were a proximate cause

of, and/or were a producing cause of the following damages suffered by Ms. Sanchez, and Eli

Gauna, Sr., for which they individually seek compensation:

             loss of services that Ms. Sanchez and Eli Gauna, Sr. would have received from their
              son, Eli;

             expenses for Eli’s funeral;

             past mental anguish and emotional distress suffered by Ms. Sanchez and Eli Gauna, Sr.
              resulting from and caused by the death of Eli;

             future mental anguish and emotional distress suffered by Ms. Sanchez and Eli Gauna,
              Sr. resulting from and caused by the death of Eli;

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             loss of companionship and society that Ms. Sanchez and Eli Gauna, Sr. would have
              received from Eli; and

             exemplary/punitive damages.

Exemplary/punitive damages are appropriate in this case to deter and punish clear and unabashed

violation of Eli’s constitutional rights. Ms. Oliver’s actions and inaction showed a reckless or

callous disregard of, or indifference to, Eli’s rights and safety. Moreover, all Plaintiffs in this case

seek reasonable and necessary attorneys’ fees available pursuant to 42 U.S.C. §§ 1983 and 1988.


        C.       Cause of Action Against Bell County and CHC Under 42 U.S.C. § 1983 for
                 Violation of Eli Gauna’s 14th Amendment Due Process Rights as a Pretrial
                 Detainee to Reasonable Medical and Mental Health Care, to be Protected, and Not
                 to be Punished

        95.      In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Defendants Bell County and

CHC are liable to Plaintiff (including Ms. Sanchez and Eli Gauna, Sr.), pursuant to 42 U.S.C. §

1983, for violating Eli's rights to reasonable medical and mental health care, to be protected from

himself and others, and not to be punished as a pre-trial detainee, such rights guaranteed by the

Fourteenth Amendment to the United States Constitution. According to the Fifth Circuit Court of

Appeals, the deliberate indifference standard in the context of Section 1983 claims based on

official municipal policies is less stringent that the deliberate indifference standard used for Section

1983 claims based on the isolated actions of individual policymakers. Whereas the deliberate

indifference standard for the actions of individual policymakers requires subjective awareness of

the inmate’s serious medical condition, the deliberate indifference standard for an official policy

or practice Section 1983 claim is objective. Such an objective standard comports with Kingsley v.


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Hendrickson 135 S.Ct. 2466 (2015).

        96.      Pretrial detainees are entitled to a greater degree of medical care than convicted

inmates, according to the Fifth Circuit Court of Appeals. They are also entitled to be protected

from themselves and others and not to be punished at all, since they have not been convicted of

any crime resulting in their incarceration. Bell County and CHC acted or failed to act under color

of state law at all relevant times. Bell County’s and CHC’s policies, practices, and/or custom were

moving forces behind and proximately caused Eli’s death and Plaintiff’s (including Ms. Sanchez’s

and Eli Gauna, Sr.’s) resulting damages.

        97.      The Fifth Circuit Court of Appeals has made it clear that Plaintiff need not allege

the appropriate policymaker at the pleadings stage. Nevertheless, out of an abundance of caution,

the Sheriff of Bell County was the relevant chief policymaker over matters at issue in this case.

Moreover, in addition, and in the alternative, the jail administrator was the relevant chief

policymaker over matters at issue in this case. Bell County and CHC were deliberately indifferent

regarding policies, practices, and/or customs developed and/or used with regard to Bell County

prisoners with serious medical and mental health issues, and self-harm and suicidal tendencies, as

evidenced by allegations set forth in the Factual Allegations section above. Bell County and CHC

acted in an objectively unreasonable manner. Policies, practices, and/or customs referenced in that

section, as well as the failure to adopt appropriate policies, were moving forces behind and caused

violation of Eli’s rights and showed deliberate indifference to the known or obvious consequences

that constitutional violations would occur. Bell County’s and CHC’s relevant policies, practices,

and/or customs, whether written or not, were also objectively unreasonable as applied to Eli and

those similarly situated.

        98.      The United States Court of Appeals for the Fifth Circuit has held that using a state’s

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to


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42 U.S.C. § 1983. Therefore, Eli’s heirs-at-law, including Ms. Sanchez and Eli Gauna, Sr., and

the Estate of Eli Gauna Jr., seek all remedies and damages available under Texas and federal law,

including but not necessarily limited to the Texas wrongful death statute (Tex. Civ. Prac. & Rem.

Code § 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac. & Rem. Code § 71.021), the

Texas Constitution, common law, and all related and/or supporting caselaw. If Eli had lived, he

would have been entitled to bring a 42 U.S.C. § 1983 action and obtain remedies and damages

provided by Texas and federal law. Therefore, Eli’s estate and/or his heirs at law suffered the

following damages, for which they seek recovery from Bell County and CHC (jointly and

severally):

             Eli’s conscious physical pain, suffering, and mental anguish experienced by him prior
              to his death;

             Eli’s medical expenses; and

             Eli’s funeral expenses.

        99.      These heirs-at-law (including Ms. Sanchez and Eli Gauna, Sr.) also, individually,

seek and are entitled to all remedies and damages available to them for the 42 U.S.C. § 1983

violations. Ms. Sanchez and Eli Gauna, Sr. seek those damages due to the wrongful death of their

biological and legal son.          The damages suffered by the heirs-at-law were caused and/or

proximately caused by Bell County and CHC. Therefore, Bell County’s and CHC’s actions

caused, were proximate and/or producing causes of the following damages suffered by Ms.

Sanchez and Eli Gauna, Sr., for which they individually seek compensation:

             loss of services that Ms. Sanchez and Eli Gauna, Sr. would have received from their
              son, Eli;

             expenses for Eli’s funeral;

             past mental anguish and emotional distress suffered by Ms. Sanchez and Eli Gauna, Sr.
              resulting from and caused by the death of Eli;


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            future mental anguish and emotional distress suffered by Ms. Sanchez and Eli Gauna,
             Sr. resulting from and caused by the death of Eli; and

            loss of companionship and society that Ms. Sanchez and Eli Gauna, Sr. would have
             received from Eli.

Moreover, Plaintiff (including Kathy Sanchez and Eli Gauna, Sr.) seeks reasonable and necessary

attorneys’ fees available pursuant to 42 U.S.C. §§ 1983 and 1988.


        D.       Causes of Action Against Bell County for Violation of Americans with Disabilities
                 Act and Rehabilitation Act

        100.     In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all allegations in the “Factual Allegations” section above) to

the extent they are not inconsistent with the cause of action pled here, Bell County is liable to

Plaintiff (and Eli’s heirs-at-law) pursuant to the Americans with Disabilities Act (“ADA”) and

federal Rehabilitation Act. Bell County is liable whether it was Bell County employees and/or

agents who violated the ADA and/or Rehabilitation Act or, in the alternative, CHC employees

and/or agents who violated the ADA and/or Rehabilitation Act. Upon information and belief, Bell

County has been and is a recipient of federal funds. Therefore, it is covered by the mandate of the

federal Rehabilitation Act. The Rehabilitation Act requires recipients of federal monies to

reasonably accommodate persons with mental and physical disabilities in their facilities, program

activities, and services, and also reasonably modify such facilities, services, and programs to

accomplish this purpose. Further, Title II of the ADA applies to Bell County and has the same

mandate as the Rehabilitation Act. Claims under both the Rehabilitation Act and ADA are

analyzed similarly.

        101.     The Bell County jail is a “facility” for purposes of both the rehabilitation and ADA,

and the jail’s operation comprises a program and services for Rehabilitation Act and ADA


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purposes. Eli was a qualified individual for purposes of the Rehabilitation Act and ADA, regarded

as having a mental impairment and/or medical condition that substantially limited one or more of

his major life activities. Eli was therefore disabled. Upon information and belief, Eli was also

discriminated against by reason of his disability.

        102.     A majority of circuits have held, for purposes of Rehabilitation Act and ADA

claims, that one may prove intentional discrimination by showing that a defendant acted with

deliberate indifference. The Fifth Circuit has, as yet, declined to follow the majority view.

Nevertheless, intent can never be shown with certainty. Direct and circumstantial evidence can be

used to support an “intent” jury finding, and allegations in this pleading show that there is more

than enough of both.

        103.     Bell County’s and/or CHC’s failure and refusal to accommodate Eli’s mental

disabilities while in custody violated the Rehabilitation Act and the ADA. Such failure and refusal

caused, proximately caused, and was a producing cause of Eli’s death and Plaintiff’s (including all

heirs-at-law, including Eli Gauna Sr.’s) damages.

        104.     Bell County’s and/or CHC’s violations of the Rehabilitation Act and the ADA

included the failure to reasonably modify facilities, services, accommodations, and programs to

reasonably accommodate Eli’s mental disabilities. These failures and refusals, which were

intentional, proximately caused Eli’s death and Plaintiff’s (and Eli’s heirs-at-law, including Eli

Gauna, Sr.’s) damages. Because Eli’s death resulted from Bell County’s and/or CHC’s intentional

discrimination against him, Plaintiff (including all heirs-at-law, including Eli Gauna Sr.) are

entitled to the maximum amount of compensatory damages allowed by law. Plaintiff (and Eli’s

heirs-at-law, including Eli Gauna, Sr.) seek all such damages itemized in the prayer and or body

in this pleading (including sections above giving appropriate and fair notice of Plaintiff’s (and

Eli’s heirs-at-law, including Eli Gauna, Sr.’s) 42 U.S.C. § 1983 claims and resulting damages) to


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the extent allowed by the Rehabilitation Act and the ADA, and Plaintiff also seek reasonable and

necessary attorneys’ fees and other remedies afforded by those laws.



IV.     Concluding Allegations and Prayer

        A.       Conditions Precedent

        105.     All conditions precedent to assertion of Plaintiff’s claims have occurred.


        B.       Use of Documents at Trial or Pretrial Proceedings

        106.     Plaintiff intends to use at one or more pretrial proceedings and/or at trial all

documents produced by Defendants in this case in response to written discovery requests, with

initial disclosures (and any supplements or amendments to same), and in response to Public

Information Act request(s).


        C.       Jury Demand

        107.     Plaintiff demands a jury trial on all issues which may be tried to a jury.


        D.       Prayer

        108.     For these reasons, Plaintiff asks that Defendants be cited to appear and answer, and

that Plaintiff (and Eli’s heirs at law, including Eli Gauna, Sr.) have judgment for damages within

the jurisdictional limits of the court and against all Defendants, jointly and severally, as legally

applicable, for:


                 a)       actual damages of and for Kathy R. Sanchez individually including but not
                          necessarily limited to the following:

                          •        loss of services that she would have received from her son, Eli;

                          •        expenses for Eli’s funeral;

                          •        past mental anguish and emotional distress resulting from and


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                                   caused by the death of Eli;

                          •        future mental anguish and emotional distress resulting from and
                                   caused by the death of Eli; and

                          •        loss of companionship and society that she would have received
                                   from Eli;

                 b)       actual damages of and for Eli Gauna, Sr. individually including but not
                          necessarily limited to the following:

                          •        loss of services that he would have received from his son, Eli;

                          •        expenses for Eli’s funeral;

                          •        past mental anguish and emotional distress resulting from and
                                   caused by the death of Eli;

                          •        future mental anguish and emotional distress resulting from and
                                   caused by the death of Eli; and

                          •        loss of companionship and society that he would have received from
                                   Eli;

                 c)       actual damages of and for the Estate of Eli Gauna through its Dependent

                          Administrator Kathy Sanchez (ultimately the heirs-at-law of Eli, including

                          Kathy Sanchez and Eli Gauna, Sr.) including but not necessarily limited to

                          the following:

                          •        Eli’s conscious pain and suffering; and

                          •        funeral expenses;

                 d)       exemplary/punitive damages for Plaintiff (including all heirs at law,

                          including Kathy Sanchez and Eli Gauna, Sr.) from the natural person

                          Defendant;

                 e)       reasonable and necessary attorneys’ fees for Plaintiff (including all heirs at

                          law, including Kathy Sanchez and Eli Gauna, Sr.) through trial and any




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                          appeals and other appellate proceedings, pursuant to 42 U.S.C. §§ 1983 and

                          1988, the ADA, and the Rehabilitation Act;

                 f)       court costs and all other recoverable costs;

                 g)       prejudgment and postjudgment interest at the highest allowable rates; and

                 h)       all other relief, legal and equitable, general and special, to which Plaintiff

                          (including all heirs at law, including Kathy Sanchez and Eli Gauna, Sr.) is

                          entitled.



                                                 Respectfully submitted,


                                                       /s/ T. Dean Malone
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